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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 24-Cr-60155-DSL
                                             25-Cr-60015-DSL

 UNITED STATES OF AMERICA,

        Plaintiff,
 v.

 CARLOS JOSE ABREU,

       Defendant.
 _______________________________/

                     ORDER SETTING DATE, TIME, AND PROCEDURES
                             FOR SENTENCING HEARING

        THIS CAUSE came before the Court upon the conclusion of the Defendant’s Change of Plea

 hearing held Wednesday, March 12, 2025.

        Having heard from the parties, it is hereby ORDERED AND ADJUDGED that a

 sentencing hearing is set in this matter for Wednesday, June 11, 2025, at 11:00 a.m., in the Fort

 Lauderdale Division, Courtroom 202A, before Judge David Leibowitz.

                                 SENTENCING PROCEDURES

        1. The Probation Office shall disclose the Draft Presentence Investigation Report (“PSR”)

            no later than 35 days prior to the sentencing hearing.

        2. Each party shall file its objections, if any, to the Draft PSR and any motions for

            sentencing departures or variances no later the 14 days after the disclosure of the Draft

            PSR. The non-moving party will then have 7 days to respond.

        3. The Probation Office shall disclose the Final PSR and Addendum no later than 10 days

            before the sentencing hearing. Each party shall, no later than 5 days before the

            sentencing hearing, file a notice of setting forth all previously filed objections that have

            been resolved and all objections that remain outstanding.
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       4. The Court has set aside 45 minutes in total for this hearing. If any party requires more

          time, counsel for that party shall file, no later than 7 days prior to the hearing, a motion

          for more time in which the moving party shall lay out exactly how much time will be

          needed and why (including but not limited to the need to submit evidence at the

          hearing).


       DONE AND ORDERED in the Southern District of Florida this March 12, 2025.




 cc:   counsel of record




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